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                                STATE OF CONNECTICUT
               DEPARTMENT OF EMERGENCY SERVICES AND PUBLIC PROTECTION
                                LEGAL AFFAIRS UNIT

                       Freedom of Information Act Request Response

January 12, 2023


Mr. Ray Bevis
19 Brookdale St.
Wolcott, CT 06716

RE:     Your Freedom of Information Act Request

Dear Mr. Bevis:

Your request for information has been referred to this office for review and response and will be
processed in accordance with the provisions of the Freedom of Information Act and any other
applicable provision of law.

Pursuant to statute, you may be charged with a fee for an item or service in connection with your
request.

Please reference the file number indicated below on all communications to this agency to ensure
timely processing of your request.

You will be notified as soon as possible of the results of our review as well as any fees that may
be due.

Very truly yours,

Legal Affairs Unit

File No.: F-23-08815



                                     1111 Country Club Road
                                       Middletown, CT 06457
                            Phone: (860) 685-8150/Fax: (860) 685-8611
                         An Affirmative Action/Equal Opportunity Employer
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